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 8 Khrapunov, Viktor Khrapunov, Elvira

 9 Khrapunov a/k/a Elvira Kudryashova;
     Dmitry Kudryashov; RPM USA, LLC;
10   RPM-Maro LLC; Maro Design LLC; Haute
     Hue LLC; 628 Holdings LLC; Candian
11   International Ltd.; Elvira Kudryashova as
12
     Trustee of The Kasan Family Trust; Dmitry
     Kudryashov as Trustee of The Kasan Family
13   Trust, Crownway Ltd., Vilder Company
     S.A., and World Health Networks, Inc.
14

15                          UNITED STATES DISTRICT COURT

16
                          CENTRAL DISTRICT OF CALIFORNIA

     CITY OF ALMATY,                     Case No. 14-cv-03650-FMO(FFMx)
17
                                         Consolidated with case no. 15-cv-02628-FMO
18                      Plaintiff,       (CW)
                 v.                      Judge: Hon. Fernando M. Olguin
19
                                         Magistrate Judge: Hon. Frederick F. Mumm
20   VIKTOR KHRAPUNOV, et al.,
                        Defendants.      DECLARATION OF LARA KOLLIOS IN
21
                                         SUPPORT OF PARTIES’ JOINT
22                                       SUBMISSION PURSUANT TO COURT
                                         ORDER
23
                                         [Joint Submission; Declaration of Jonathan M.
24
                                         Jackson filed concurrently herewith]
25                                       Courtroom: 6D
26                                       Action Filed: May 13, 2014
27

28

                                                 DECLARATION OF LARA KOLLIOS
                                                   Case No.: 14-cv-03650-FMO(FFMx)
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 1                        DECLARATION OF LARA KOLLIOS
 2        I, LARA KOLLIOS, hereby declare under penalty of perjury under the laws of
 3 the State of California and this Court as follows:

 4        1.     I am an attorney licensed to practice law in the State of California. I am
 5 counsel to defendants Ilyas Khrapunov, Viktor Khrapunov, Madina Ablyazova, Leila

 6 Khapunov, Elvira Khrapunov a/k/a Elvira Kudryashova; Dmitry Kudryashov; RPM

 7 USA, LLC; RPM-Maro LLC; Maro Design LLC; Haute Hue LLC; 628 Holdings LLC;

 8 Candian International Ltd.; Elvira Kudryashova as Trustee of The Kasan Family Trust;

 9 Dmitry Kudryashov as Trustee of The Kasan Family Trust; Crownway, Ltd.; Vilder

10 Company S.A.; ThirtyEight Enterpises LLC; and World Health Networks

11 (“Defendants”) in this matter and submit this declaration in support of the Parties’

12 Joint Submission Pursuant to Court Order. I have personal knowledge of the facts set

13 forth herein and, if called to do so, could and would competently testify thereto.

14        2.     Attached hereto as Exhibit 1 is a true and correct copy of Defendants’
15 revised definitions for the term “U.S. TRANSACTIONS”.

16        3.     Attached hereto as Exhibit 2 is a true and correct copy of Defendants’
17 discovery proposal

18        4.     Attached hereto as Exhibit 3 is a true and correct copy of the email chain
19 containing the parties’ meet and confer efforts.

20        5.     Attached hereto as Exhibit 4 is a true and correct copy of Plaintiff’s
21 discovery proposal.

22        6.     Attached hereto as Exhibit 5 is a true and correct copy of a March 5, 2018
23 email from me to Plaintiff’s counsel with defendants’ discovery proposal.

24        7.     On February 22, 2018, I participated in a meet and confer teleconference
25 with Jonathan Jackson and Kendall Howes, lawyers for Almaty. The teleconference

26 lasted approximately thirty minutes. During the call, Mr. Jackson stated that Almaty
27 intended to move for reconsideration of the Court’s February 13, 2018 Order (Dkt. No.

28 224), stating that Almaty believed it was inconsistent with the Honorable Fernando M.

                                            1      DECLARATION OF LARA KOLLIOS
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 1 Olguin’s Pretrial Order. During the call, Ms. Howes began to explain that Almaty

 2 believed Defendants should respond to all of Almaty’s pending discovery, but with

 3 narrowed defined terms. I stated I believed Almaty’s position was inconsistent with

 4 the Court’s order, and asked that Almaty send a written proposal of the discovery it

 5 sought from Defendants in light of the Court’s order.

 6        8.    On February 23, 2018, I confirmed via email that Almaty would send a
 7 written proposal of narrowed discovery and repeated Defendants’ position that we did

 8 “not believe the Court’s order to mean that defendants are required to respond to the

 9 over 5,000 discovery requests Almaty has served with revised defined terms.” Ex. 3.

10        9.    I did not receive Almaty’s written proposal until roughly 8:00 pm on
11 Thursday, March 1, 2018. Ex. 3.

12        Executed this 5 day of March, 2018 at Oakland, California.
13
                                                       /s/ Lara Kollios_______
14                                                     Lara Kollios
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                                           2      DECLARATION OF LARA KOLLIOS
                                                    Case No.: 14-cv-03650-FMO(FFMx)
